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AO 442 (Rev. 01/09) Arrest Warrant JIZZ) /F c
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UNITED STATES DISTRICT COURT

for the

 

District of Columbia

United States of America

v. ) Case: 1:21-MJ-000114
Lonnie Leroy Coffman ) Assigned to: Judge G. Michael Harvey
) Assigned Date: 1/7/2021
) Description: COMPLAINT W/ ARREST WARRANT

Defendant

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) — Lonnie Leroy Coffman ,
who is accused of an offense or violation based on the following document filed with the court:

C) Indictment © Superseding Indictment © Information © Superseding Information wm Complaint
© Probation Violation Petition 1 Supervised Release Violation Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:

Title 26 U.S.C. 5861(d) (possession of unregistered firearm - destructive device) and D .C. Criminal Code 22-4504(a)
(carrying a pistol without a license).

A agome ,
ce G. Michael Harvey
6 heh), p 2021.01.07 14:13:38 -05'00'

Issuing officer's signature

Date: 01/07/2021

City and state: | Washington, D.C. ____ United States Magistrate Judge G. Michael Harvey _

Printed name and title

 

Return

This warrant was received on (date) | /7/d02.\ , and the person was avyested-on (date) \/1/ doe!
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at (city and state) Vrastan ben De
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Date: L/ 7 }02 \ Kho

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